      Case 2:21-cv-00521-JFC-CRE Document 40 Filed 03/01/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AIMON TUSHA,                                )
                                            )
                      Plaintiff,            )
                                            )
              v.                            )       Civil Action No. 21-521
                                            )
STANLEY GREENFIELD,                         )
                                            )
                      Defendant             )
                                            )

                                     ORDER OF COURT

       AND NOW this 1st day of March, 2022, for the reasons set forth in the accompanying

opinion, Tusha’s objections to the R&R (ECF No. 34) are overruled and the R&R is adopted in

part as the opinion of the court, as supplemented in the accompanying opinion. It is further

ORDERED that Defendant’s motion to strike the second COM (ECF No. 26) is GRANTED. It

is further ORDERED that Defendant’s motion to dismiss the complaint (ECF No. 19) is

GRANTED as follows: counts 1, 2, 4, 5 and 6 are dismissed with prejudice with respect to

conduct beyond the two-year statute of limitations, and without prejudice to Tusha’s ability to

file an amended complaint with respect to conduct within the two-year statute of limitations; and

count 3 is dismissed without prejudice. If Tusha intends to file an amended complaint, he must

do so on or before March 29, 2022.



                                                    BY THE COURT:

                                                     /s/ Joy Flowers Conti
                                                    Joy Flowers Conti
                                                    Senior United States District Judge


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